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EXHLELT !
Case 1:19-cv-00225-CM-OTW Document 121-1 Filed 06/19/20 Page 2 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

JEFFREY ROTHMAN

PLAINTIFF

CIVIL No. 19-0225 (CM) (OTIV)

VS

THE CITY OF NEW YORK. etc.,
el al.,

DEFENDANTS

PLAINTIFF'S PRE-TRIAL LIST OF PROPOSED EXHIBITS

(PA-1) DECEMBER 14, 2017 DATED JEFFREY ROTHMAN EXECUTED
PROOF OF SERVICE OF THE SERVICE OF SUMMONS AND
COMPLAINT ON RICHARD EVANS FILED BY JEFFREY
ROTHMAN IN JONATHAN MERCEDES v. THE CITY OF NEW
YORK, etc., ef al. 17 Civ 7378 (AKH) (S.D.N.Y. 2017)

(PA-2) PLAINTIFF JEFFREY ROTHMAN'S DECEMBER 28, 2017
DATED LETTER TO ZACHARY CARTER, ESQ. AND
LAWRENCE BYRNE, ESQ. WITH DECEMBER 29, 2017
DATED TIME STAMP OF THE RECEIPT OF THE LETTER
BY THE OFFFICE OF THE CORPORATION COUNSEL AND
WITH DECEMBER 29, 2017 DATED CONFIRMATION OF
THE CERTIFIED MAILING TO LAWRENCE BYRNE

(PN-3) DECEMBER 29, 2017 DATED JEFFREY ROTHMAN EXECUTED
TYPO CORRECTED (DATE —-DECEMBER 13, 2017 RATHER THAN
SEPTMEBER 13, 2017) PROOF OF SERVICE OF SUMMONS
AND COMPLAINT ON RICHARD EVANS FILED BY JEFFREY
ROTHMAN IN JONATHAN MERCEDES v. THE CITY OF NEW
YORK, etc., et al. 17 Civ 7378 (AKH) (S.D.N.Y, 2017)

(PX-4) JANUARY 17, 2018 DATED PHOTO VISITOR PASS ISSUED
TO JEFFREY ROTIIMAN TO GAIN ACCESS TO NEW YORK
CITY CIVILIAN COMPLAINT REVIEW BOARD
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PLAINTIFE'S PRE-TRIAL LIST OF PROPOSED EXHIBITS: (€ 'ONT)

(PN-5)

(PX-6)

(PX-7)

(PX-8)

(PX-9)

(PX-10)

(PX-1 1)

(PN-12)

(PX-1 2a)

(PX-13)

(PN- 1-4)

PHOTO COPIES OF THE CARDS OF NEW YORK CITY CIVILIAN
COMPLAINT REVIEW BOARD INESVTIGATORS MATTHEW
CAMPOS AND SCOTT CARLTON WHO TOOK PLAINTIFF
ROTHMAN’S WALK-IN JANUARY 17, 2018 DATED COMPLAINT
TO THE NEW YORK CIVILIAN COMPLAINT REVIEW BOARD

JANUARY 17, 2018 DATED HAND WRITTEN DOCUMENT
MEMORIALIZING THE CASE NUMBER AND THE DATE OF
PLAINTIFF JEFFREY ROTHMAN’S JANUARY 17, 2018 DATED
COMPLAINT TO THE NEW YORK CITY CIVILIAN COMPLAINT
REVIEW BOARD

JANUARY 17, 2018 DATED CIVILIAN COMPLAINT REVIEW
BOARD WALK-IN FORM

JANUARY 17, 2018 CIVILIAN COMPLAINT REVIEW BOARD
COMPLAINT REPORT

CIVILIAN COMPLAINT REVIEW BOARD WITNESS
INFORMATION SHEET

JANUARY 17, 2018 DATED CIVILIAN COMPLAINT REVIEW
BOARD INTERVIEW SHEET (JEFFREY ROTI IMAN)

FEBRUARY 20, 2018 DATED CIVILIAN COMPLAINT REVIEW
BOARD INTERVIEW SHEET (VINCENT FLOREZ)

AUDIO RECORDING OP THE FEBRUARY 20, 2018 DATED
CIVILIAN COMPLAINT REVIEW BOARD STATEMENT OF
VINCENT FLOREZ

TRANSCRIPT OF AUDIO RECORDING OF THE FEBRUARY
20, 2018 DATED CIVILIAN COMPLAINT REVIEW BOARD
STATEMENT OF VINCENT FLOREZ

FEBRUARY 20, 2018 DATED CIVILIAN COMPLAINT REVIEW
BOARD INTERVIEW SHEET (ANDREW WUNSCH)

AUDIO RECORDING OF THE FEBRUARY 20, 2018 DATED
CIVILIAN COMPLAINT REVIEW BOARD STATEMENT OF
ANDREW WUNSCH
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PLAINTIFF'S PRE-TRIAL LIST OF PROPOSED EXT HBITS (CONT)

(PN-14a)

(PX-16)

(PN-18)

(PX-19)

(PX-20)

(PNX-21)

(PN-22)

TRANSCRIPT OF AUDIO RECORDING OF THE FEBRUARY
20, 2018 DATED CIVILIAN COMPLAINT REVIEW BOARD
STATEMENT OF ANDREW WUNCH

PLAINTIFF JEFFREY ROTHMAN’S MARCI 1, 2018 DATED
ON LINE FILED NOTICE OF CLAIM TO THE NEW YORK CITY
COMPTROLLER’S OFFICE

:-CLAM RECEIPT RELATED TO PLAINTIFF JEFFREY
ROTHMAN’S NOTICE OF CLAIM TO THE BEW YOR CITY
COMPTROLLER’S OFFICE

MARCH 14, 2018 DATED LETTER FROM NEW YORK CITY
COMPTROLLER’S OFFICE TO JEFFREY ROTI IMAN

APRIL 24, 2018 HANDWRITTEN NOTES OF JEFFREY
ROTHMAN-RE: TELEPHONE CALL WITH NEW YORK CITY
POLICE DEPARTMENT SERGEANT SWETSKY-RE: ] EFFREY
ROTHMAN’S DECEMBER 28, 2018 DATED LETTER TO
LAWRENCE BYRNE AND ZACHARY CARTER

APRIL 24, 2018 DATED LETTER EROM COLON & PEGUERO, LLP
TO JEFFREY ROTHMAN SCHEDULING SO(T) NEW YORK STATE
MUNICIPLAL LAW HEARING RELATED TO JEFEREY
ROTHMAN’S MARCH, 2018 DATED NOTICE OF CLAIM TO THE
NEW YORK CITY COMPTROLLER’S OFFICE

JUNE 14, 2018 DATED E-MAIL FROM JEFFREY ROTHMAN
REQUESTING ADJOURNMENT OF SCHEDULED 50 (H)
MUNICIPAL LAW MANDATED HEARING

JUNE 20, 2018 DATED LETTER FROM COLON & PEGUERO, LLP
TO JEFFREY ROTHMAN RE-SCHEDULING SO(H) NEW YORK
STATE MUNICIPAL LAW HEARING RELATED TO JEFFREY
ROTHMAN’S MARCH 2018 DATED NOTICE OF CLAIM TO THE
NEW YORK CITY COMPTROLLER’S OFFICE

AUGUST 1, 2018 DATED HAND WRITTEN NOTES OF
JEFFREY ROTHMAN’S TELEPHONE COMMMUNICATION
WITH NEW YORK CITY CIVILIAN COMPLAINT REVIEW BOARD
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PLAINTIFF'S PRE-TRIAL LIST OF PROPOSED EXHIBITS (CONT)

 

(PX-23)

(PN-24)

(PN-25)

(PNX-26)

(PN-27)

(PX-28)

(PX-29)

(PX-30)

(PX-31)

(PX-32)

AUGUST |, 2018 DATED E-MAIL FROM NEW YORK
CITY CIVILIAN COMPLAINT REVIEW BOARD TO JEFFREY
ROTHMAN AND JEFFREY ROTHMAN’S E-MAIL RESPONSE

AUGUST 1, 2018 DATED E-MAIL TRANSMITTED DECISION
FROM THE CIVILIAN COMPLAINT REVIEW BOARD TO
JEFFREY ROTHMAN

NEW YORK CITY POLICE DEPARTMENT PATROL GUIDE
PROCEUDRE No. 203-09 (PUBLIC CONTACT-GENERAL)

NEW YORK CITY POLICE DEPARTMENT PATROI. GUIDE
PROCEDURE No. 200-02 (MISSION AND VALUES OF THE NEW
YORK CITY POLICE DEPARTMENT)

JANUARY 8, 2019 DATED LETTER TO JEFFREY ROTHMAN
FROM CIVILIAN COMPLAINT REVIEW

JANUARY 18. 2019 DATED NEW YORK CITY POLICE
DEPARTMENT FROM/TO MEMO (RE: ISSUANCE OF
INSTRUCTIONS TO DETECTIVE ANDREW WUNSCH)

JULY 26, 2018 DATED MEMORANDUM TO POLICE
COMMISSIONER OF THE NEW YORK CITY POLICE
DEPARTMENT FROM EXECUTIVE DIRECTOR OF
CIVILIAN COMPLAINT REVIEW BOARD —RE:
SUBSTANTIATED ALLEGATIONS FOR CCRB CASE
NUMBER 20180042 AND UNDERLYING DOCUMENTS
RELATED TO ANDREW WUNSCH

JULY 31, 2018 DATED LETTER FROM EXECUTIVE
DIRECTOR OF CIVILIAN COMPLAINT REVIEW BOARD
TO JEFFREY ROTHMAN

NEW YORK CITY POLICE DEPARTMENT PATROL GUIDE
PROCEDURE No, 206-02 (SCHEDULE “A” AND SCHEDULE
“B™ COMMAND DISCIPLINE)

NEW YORK CITY POLICE DEPARTMENT PATROL GUIDE
PROCEDURE No. 206-04 (AUTHORIZED PENALTIES
UNDER COMMAND DISCIPLINE)
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PLAINTIFE’S PRE-TRIAL LIST OF PROPOSED EXHIBITS (CONT)

(PN-33)

(PX-3-4)

(PX-35)

(PX-36)

(PX-37)

NEW YORK CITY POLICE DEPARTMENT PATROL GUIDE
PROCEDURE No. 318-05 (REVIEW OF DISCIPLINARY ACTION
PROPOSED UNDER COMMAND DISCIPLINE)

NEW YORK CITY POLICE DEPARTMENT DETECTIVE
ANDREW WUNSCH 12/13/18 MEMO BOOK ENTRIES

PLAINTIFF ROTHMAN’S NOTES FROM DATE OF INCIDENT
(12/13/17) AND FROM TELEPHONE CONVERSATION WITH
NYPD “WHEEL” ON 12/14/17

JANUARY 206, 2018 DATED MEMO FROM COMMANDING
OFFICER, LEGAL BUREAU, TO VARIOUS INDIVIDUALS-
PRESERVATION OF EVIDENCE NOTIFICATION

FEBRUARY 2, 2018 DATED TECHNICAL ASSISTANCE
RESPONSE UNIT INFORMING THAT VIDEO MATERIAL
IAD NOT BE PRESERVED

DOCUMENTS LISTED BY THE PARTY DEFENDANTS IN THEIR
OCTOBER 4, 2019 DATED RULE 26 (A) (1) (A) DISCLOSURES

Plaintiff Rothman reserves his right to amend and to further supplement Plaintiff

Rothman’s Pre-trial List of Plaintiff's Proposed Trial Witnesses and List of Plaintiff's

Proposed Trial Exhibits up to and including at the time of the trial of this matter.

DATED: New York, New York
June 18, 2020

Respectfully submitted

/sf James 1. Meyerson

JAMES |. MEYERSON

510 Fifth Avenue- at # 335
New York. New York 10036
(917) 570-5369

ATTORNEY FOR PLAINTIFF
BY: _
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TO:
BRIAN FRANCOLLA, ESQ.

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Special Federal Litigation Division

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ATTORNEY FOR DEFENDANTS CITY OF NEW YORK, WUNSCH, AND FLOREZ
BY:

 
